                                   Case 8:23-ap-01046-SC     Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07      Desc
                                                             Main Document     Page 1 of 20



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                                   2
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                                       LOCKE LORD LLP
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                                       300 S. Grand Avenue, Suite 2600
                                   5   Los Angeles, CA 90071
                                       Telephone: (213) 485-1500
                                   6
                                       Facsimile: (213) 485-1200
                                   7
                                       Attorneys for Defendant
                                   8
                                       MARICH BEIN, LLC
                                   9
                                                           UNITED STATES BANKRUPTCY COURT
                                  10
                                                             CENTRAL DISTRICT OF CALIFORNIA
                                  11
                                                                     SANTA ANA DIVISION
                                  12
                                       In re:                                   )     Case No. 8:23-bk-10571-SC
300 S. Grand Avenue, Suite 2600




                                  13                                            )
    Los Angeles, CA 90071




                                                                                      Hon. Scott C. Clarkson
                                       THE LITIGATION PRACTICE GROUP, ))
       Locke Lord LLP




                                  14
                                       PC,                                      )     Chapter 11
                                  15                                            )
                                                                                )     Adversary No. 8:23-ap-01046-SC
                                  16                           Debtor.
                                                                                )     DEFENDANT MARICH BEIN,
                                  17                                            )
                                       ____________________________________ )         LLC’S ANSWER TO
                                  18                                            )     PLAINTIFF RICHARD A.
                                       RICHARD A. MARSHACK,                     )     MARSHACK’S AMENDED
                                  19   Chapter 11 Trustee                       )     COMPLAINT
                                                                                )
                                  20                           Plaintiff,       )
                                             vs.                                )     Amended Complaint Filed: June
                                  21                                            )     15, 2023
                                        TONY DIAB, an individual; DANIEL S.     )
                                  22                                            )
                                       MARCH, an individual; ROSA BIANCA        )
                                  23   LOLI, an individual; LISA COHEN, an      )
                                  24   individual; WILLIAM TAYLOR CARSS, an )
                                       individual; ENG TAING, an individual;    )
                                  25                                            )
                                       HENG TAING, an individual; MARIA         )
                                  26   EEYA TAN, an individual; JAKE AKERS, )
                                       an individual; HAN TRINH, an individual; )
                                  27   JAYDE TRINH, an individual; WES          )
                                                                                )
                                  28
                                       133517932                                1
                                                   MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC   Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07   Desc
                                                           Main Document     Page 2 of 20



                                   1   THOMAS, an individual; SCOTT JAMES )
                                       EADIE, an individual; JIMMY CHHOR, an )
                                   2                                         )
                                       individual; DONGLIANG JIANG, an       )
                                   3   individual; MAX CHOU, an individual;  )
                                       OAKSTONE LAW GROUP PC; GREYSON )
                                   4
                                       LAW CENTER PC; PHOENIX LAW, PC; )
                                   5   MAVERICK MANAGEMENT GROUP,            )
                                                                             )
                                       LLC; LGS HOLDCO, LLC; CONSUMER )
                                   6
                                       LEGAL GROUP, P.C.; VULCAN             )
                                   7   CONSULTING GROUP LLC; BAT INC. )
                                       d/b/a COAST PROCESSING; PRIME         )
                                   8                                         )
                                       LOGIX, LLC; TERACEL BLOCKCHAIN )
                                   9   FUND II LLC; EPPS; EQUIPAY;           )
                                       AUTHORIZE.NET; WORLD GLOBAL;          )
                                  10
                                       OPTIMUMBANK HOLDINGS, INC. d/b/a )
                                                                             )
                                  11   OPTIMUM BANK; MARICH BEIN, LLC; )
                                  12   BANKUNITED, N.A.; REVOLVE3, INC.; )
                                       FIDELITY NATIONAL INFORMATION )
300 S. Grand Avenue, Suite 2600




                                  13   SERVICES, INC. d/b/a FIS; WORLDPAY, )
    Los Angeles, CA 90071




                                                                             )
                                       LLC; WORLDPAY GROUP; MERIT
       Locke Lord LLP




                                  14                                         )
                                       FUND, LLC; GUARDIAN PROCESSING, )
                                  15   LLC; PAYLIANCE, LLC; TOUZI            )
                                  16   CAPITAL, LLC; SEAMLESS CHEX INC; )
                                                                             )
                                       DWOLLA, INC.; STRIPE, INC.; and DOES )
                                  17   1 through 100, inclusive,             )
                                  18                                         )
                                                                 Defendants. )
                                  19                                         )
                                                                             )
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                                       133517932                           2
                                           MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC      Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07        Desc
                                                              Main Document     Page 3 of 20



                                   1          Defendant Marich Bein, LLC (“Marich Bein”) hereby answers the Amended
                                   2   Complaint filed by plaintiff Richard A. Marshack, Chapter 11 Trustee, (“Plaintiff”), as
                                   3   follows:
                                   4       STATEMENT OF JURISDICTION, NATURE OF PROCEEDING, AND
                                   5                                           VENUE
                                   6          1.    The allegations in this paragraph do not require an answer. To the extent
                                   7   an answer is required, Marich Bein lacks knowledge or information sufficient to form
                                   8   a belief as to the truth of the allegations of paragraph 1, and on that basis denies them.
                                   9   Further, Marich Bein does not consent to entry of final order and judgment by the
                                  10   bankruptcy court.
                                  11                                       THE PARTIES
                                  12          2.    Marich Bein lacks knowledge or information sufficient to form a belief
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                                  13   as to the truth of the allegations of paragraph 2, and on that basis denies them.
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                                  14          3.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  15   as to the truth of the allegations of paragraph 3, and on that basis denies them.
                                  16          4.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  17   as to the truth of the allegations of paragraph 4, and on that basis denies them.
                                  18          5.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  19   as to the truth of the allegations of paragraph 5, and on that basis denies them.
                                  20          6.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  21   as to the truth of the allegations of paragraph 6, and on that basis denies them.
                                  22          7.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  23   as to the truth of the allegations of paragraph 7, and on that basis denies them.
                                  24          8.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  25   as to the truth of the allegations of paragraph 8, and on that basis denies them.
                                  26          9.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  27   as to the truth of the allegations of paragraph 9, and on that basis denies them.
                                  28          10.   Marich Bein lacks knowledge or information sufficient to form a belief
                                       133517932                                 3
                                           MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC      Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07        Desc
                                                              Main Document     Page 4 of 20



                                   1   as to the truth of the allegations of paragraph 10, and on that basis denies them.
                                   2          11.   Marich Bein lacks knowledge or information sufficient to form a belief
                                   3   as to the truth of the allegations of paragraph 11, and on that basis denies them.
                                   4          12.   Marich Bein lacks knowledge or information sufficient to form a belief
                                   5   as to the truth of the allegations of paragraph 12, and on that basis denies them.
                                   6          13.   Marich Bein lacks knowledge or information sufficient to form a belief
                                   7   as to the truth of the allegations of paragraph 13, and on that basis denies them.
                                   8          14.   Marich Bein lacks knowledge or information sufficient to form a belief
                                   9   as to the truth of the allegations of paragraph 14, and on that basis denies them.
                                  10          15.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  11   as to the truth of the allegations of paragraph 15, and on that basis denies them.
                                  12          16.   Marich Bein lacks knowledge or information sufficient to form a belief
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                                  13   as to the truth of the allegations of paragraph 16, and on that basis denies them.
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                                  14          17.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  15   as to the truth of the allegations of paragraph 17, and on that basis denies them.
                                  16          18.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  17   as to the truth of the allegations of paragraph 18, and on that basis denies them.
                                  18          19.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  19   as to the truth of the allegations of paragraph 19, and on that basis denies them.
                                  20          20.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  21   as to the truth of the allegations of paragraph 20, and on that basis denies them.
                                  22          21.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  23   as to the truth of the allegations of paragraph 21, and on that basis denies them.
                                  24          22.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  25   as to the truth of the allegations of paragraph 22, and on that basis denies them.
                                  26          23.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  27   as to the truth of the allegations of paragraph 23, and on that basis denies them.
                                  28          24.   Marich Bein lacks knowledge or information sufficient to form a belief
                                       133517932                                4
                                           MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC      Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07        Desc
                                                              Main Document     Page 5 of 20



                                   1   as to the truth of the allegations of paragraph 24, and on that basis denies them.
                                   2          25.   Marich Bein lacks knowledge or information sufficient to form a belief
                                   3   as to the truth of the allegations of paragraph 25, and on that basis denies them.
                                   4          26.   Marich Bein lacks knowledge or information sufficient to form a belief
                                   5   as to the truth of the allegations of paragraph 26, and on that basis denies them.
                                   6          27.   Marich Bein lacks knowledge or information sufficient to form a belief
                                   7   as to the truth of the allegations of paragraph 27, and on that basis denies them.
                                   8          28.   Marich Bein lacks knowledge or information sufficient to form a belief
                                   9   as to the truth of the allegations of paragraph 28, and on that basis denies them.
                                  10          29.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  11   as to the truth of the allegations of paragraph 29, and on that basis denies them.
                                  12          30.   Marich Bein lacks knowledge or information sufficient to form a belief
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                                  13   as to the truth of the allegations of paragraph 30, and on that basis denies them.
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                                  14          31.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  15   as to the truth of the allegations of paragraph 31, and on that basis denies them.
                                  16          32.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  17   as to the truth of the allegations of paragraph 32, and on that basis denies them.
                                  18          33.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  19   as to the truth of the allegations of paragraph 33, and on that basis denies them.
                                  20          34.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  21   as to the truth of the allegations of paragraph 34, and on that basis denies them.
                                  22          35.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  23   as to the truth of the allegations of paragraph 35, and on that basis denies them.
                                  24          36.   Marich Bein admits the allegations in paragraph 36.
                                  25          37.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  26   as to the truth of the allegations of paragraph 37, and on that basis denies them.
                                  27          38.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  28   as to the truth of the allegations of paragraph 38, and on that basis denies them.
                                       133517932                                5
                                           MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC      Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07        Desc
                                                              Main Document     Page 6 of 20



                                   1          39.   Marich Bein lacks knowledge or information sufficient to form a belief
                                   2   as to the truth of the allegations of paragraph 39, and on that basis denies them.
                                   3          40.   Marich Bein lacks knowledge or information sufficient to form a belief
                                   4   as to the truth of the allegations of paragraph 40, and on that basis denies them.
                                   5          41.   Marich Bein lacks knowledge or information sufficient to form a belief
                                   6   as to the truth of the allegations of paragraph 41, and on that basis denies them.
                                   7          42.   Marich Bein lacks knowledge or information sufficient to form a belief
                                   8   as to the truth of the allegations of paragraph 42, and on that basis denies them.
                                   9          43.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  10   as to the truth of the allegations of paragraph 43, and on that basis denies them.
                                  11          44.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  12   as to the truth of the allegations of paragraph 44, and on that basis denies them.
300 S. Grand Avenue, Suite 2600




                                  13          45.   Marich Bein lacks knowledge or information sufficient to form a belief
    Los Angeles, CA 90071
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                                  14   as to the truth of the allegations of paragraph 45, and on that basis denies them.
                                  15                               GENERAL ALLEGATIONS
                                  16          A.    The Bankruptcy Case
                                  17          46.   Marich Bein admits the allegations in paragraph 46.
                                  18          47.   Marich Bein admits the allegations in paragraph 47.
                                  19          48.   Marich Bein admits that on May 8, 2023, the Plaintiff accepted his
                                  20   appointment as the Chapter 11 Trustee in the Bankruptcy Case pursuant to Acceptance
                                  21   of Appointment as Chapter 11 Trustee (Dkt. No. 63) and Order Approving
                                  22   Appointment (Dkt. No. 65). Except as expressly admitted herein, Marich Bein lacks
                                  23   knowledge or information sufficient to form a belief as to the truth of the allegations
                                  24   of paragraph 48, and on that basis denies them.
                                  25          49.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  26   as to the truth of the allegations of paragraph 49, and on that basis denies them.
                                  27          B.    LPG’s Ownership and Management
                                  28          50.   Marich Bein admits that debtor Litigation Practice Group, PC (“LPG”)
                                       133517932                                6
                                           MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC      Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07         Desc
                                                              Main Document     Page 7 of 20



                                   1   held itself out as a law firm that purported to provide consumer debt resolution.
                                   2   Except as expressly admitted herein, Marich Bein lacks knowledge or information
                                   3   sufficient to form a belief as to the truth of the allegations of paragraph 50, and on that
                                   4   basis denies them.
                                   5          51.   Marich Bein lacks knowledge or information sufficient to form a belief
                                   6   as to the truth of the allegations of paragraph 51, and on that basis denies them.
                                   7          52.   Marich Bein lacks knowledge or information sufficient to form a belief
                                   8   as to the truth of the allegations of paragraph 52, and on that basis denies them.
                                   9          53.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  10   as to the truth of the allegations of paragraph 53, and on that basis denies them.
                                  11          C.    LPG’s Business Structure
                                  12          54.   Marich Bein lacks knowledge or information sufficient to form a belief
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                                  13   as to the truth of the allegations of paragraph 54, and on that basis denies them.
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                                  14          55.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  15   as to the truth of the allegations of paragraph 55, and on that basis denies them.
                                  16          56.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  17   as to the truth of the allegations of paragraph 56, and on that basis denies them.
                                  18          57.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  19   as to the truth of the allegations of paragraph 57, and on that basis denies them.
                                  20          58.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  21   as to the truth of the allegations of paragraph 58, and on that basis denies them.
                                  22          D.    Diab’s Scheme
                                  23          59.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  24   as to the truth of the allegations of paragraph 59, and on that basis denies them.
                                  25          60.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  26   as to the truth of the allegations of paragraph 60, and on that basis denies them.
                                  27          61.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  28   as to the truth of the allegations of paragraph 61, and on that basis denies them.
                                       133517932                                 7
                                           MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC      Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07        Desc
                                                              Main Document     Page 8 of 20



                                   1           E.    LPG’s Prepetition Creditors
                                   2           62.   Marich Bein lacks knowledge or information sufficient to form a belief
                                   3   as to the truth of the allegations of paragraph 62, and on that basis denies them.
                                   4           63.   Marich Bein admits the allegations in paragraph 63.
                                   5           64.   Marich Bein admits the allegations in paragraph 64.
                                   6           65.   Marich Bein admits the allegations in paragraph 65.
                                   7           F.    Transfers to Alter Egos and Fraudulent Conveyances
                                   8           66.   Marich Bein lacks knowledge or information sufficient to form a belief
                                   9   as to the truth of the allegations of paragraph 66, and on that basis denies them.
                                  10           67.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  11   as to the truth of the allegations of paragraph 67, and on that basis denies them.
                                  12           68.   Marich Bein lacks knowledge or information sufficient to form a belief
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                                  13   as to the truth of the allegations of paragraph 68, and on that basis denies them.
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                                  14           69.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  15   as to the truth of the allegations of paragraph 69, and on that basis denies them.
                                  16           70.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  17   as to the truth of the allegations of paragraph 70, and on that basis denies them.
                                  18           71.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  19   as to the truth of the allegations of paragraph 71, and on that basis denies them.
                                  20           G.    Diab’s Control over LPG’s Payment Processing
                                  21           72.   Marich Bein denies each and every allegation contained in paragraph 72
                                  22   or lacks knowledge or information sufficient to form a belief as to the truth of the
                                  23   allegations of paragraph 72, and on that basis denies them.
                                  24           73.   Marich Bein lacks knowledge or information sufficient to form a belief
                                  25   as to the truth of the allegations of paragraph 73, and on that basis denies them.
                                  26   ///
                                  27   ///
                                  28   ///
                                       133517932                                8
                                             MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC        Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07     Desc
                                                                Main Document     Page 9 of 20



                                   1                                   FIRST CLAIM FOR RELIEF
                                   2                                        Injunctive Relief
                                   3                                     Against All Defendants
                                   4           74.   Marich Bein incorporates all of the responses in the preceding paragraphs
                                   5   as if set forth fully herein.
                                   6           75.   Paragraph 75 constitutes and/or requests a legal conclusion, to which no
                                   7   response is necessary. To the extent a response is required, Marich Bein denies each
                                   8   and every allegation contained in paragraph 75.
                                   9           76.   Paragraph 76 constitutes and/or requests a legal conclusion, to which no
                                  10   response is necessary. To the extent a response is required, Marich Bein denies each
                                  11   and every allegation contained in paragraph 76.
                                  12           77.   Paragraph 77 constitutes and/or requests a legal conclusion, to which no
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                                  13   response is necessary. To the extent a response is required, Marich Bein lacks
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                                  14   knowledge or information sufficient to form a belief as to the truth of the allegations
                                  15   of paragraph 77, and on that basis denies them.
                                  16           78.   Paragraph 78 constitutes and/or requests a legal conclusion, to which no
                                  17   response is necessary. To the extent a response is required, Marich Bein lacks
                                  18   knowledge or information sufficient to form a belief as to the truth of the allegations
                                  19   of paragraph 78, and on that basis denies them.
                                  20           79.   Paragraph 79 constitutes and/or requests a legal conclusion, to which no
                                  21   response is necessary. To the extent a response is required, Marich Bein lacks
                                  22   knowledge or information sufficient to form a belief as to the truth of the allegations
                                  23   of paragraph 79, and on that basis denies them.
                                  24   ///
                                  25   ///
                                  26   ///
                                  27   ///
                                  28   ///
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                                             MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC        Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07      Desc
                                                                Main Document    Page 10 of 20



                                   1                               SECOND CLAIM FOR RELIEF
                                   2         Avoidance, Recovery, and Preservation of Two-year Actual Fraudulent
                                   3                                          Transfers
                                   4                                   Against All Defendants
                                   5                           [11 U.S.C. §§ 548(A)91)(a), 550, and 551]
                                   6          80.    Marich Bein incorporates all of the responses in the preceding paragraphs
                                   7   as if set forth fully herein.
                                   8          81.    Marich Bein lacks knowledge or information sufficient to form a belief
                                   9   as to the truth of the allegations of paragraph 81, and on that basis denies them.
                                  10          82.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  11   as to the truth of the allegations of paragraph 82, and on that basis denies them.
                                  12          83.    Marich Bein lacks knowledge or information sufficient to form a belief
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                                  13   as to the truth of the allegations of paragraph 83, and on that basis denies them.
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                                  14          84.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  15   as to the truth of the allegations of paragraph 84, and on that basis denies them.
                                  16          85.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  17   as to the truth of the allegations of paragraph 85, and on that basis denies them.
                                  18          86.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  19   as to the truth of the allegations of paragraph 86, and on that basis denies them.
                                  20          87.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  21   as to the truth of the allegations of paragraph 87, and on that basis denies them.
                                  22          88.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  23   as to the truth of the allegations of paragraph 88, and on that basis denies them.
                                  24          89.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  25   as to the truth of the allegations of paragraph 89, and on that basis denies them.
                                  26          90.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  27   as to the truth of the allegations of paragraph 90, and on that basis denies them.
                                  28          91.    Marich Bein lacks knowledge or information sufficient to form a belief
                                       133517932                                10
                                           MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC        Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07       Desc
                                                                Main Document    Page 11 of 20



                                   1   as to the truth of the allegations of paragraph 91, and on that basis denies them.
                                   2          92.    Paragraph 92 constitutes a legal conclusion, to which no response is
                                   3   necessary. To the extent a response is required, Marich Bein lacks knowledge or
                                   4   information sufficient to form a belief as to the truth of the allegations of paragraph
                                   5   92, and on that basis denies them.
                                   6                            SECOND [SIC] CLAIM FOR RELIEF
                                   7     Avoidance, Recovery, and Preservation of Two-Year Constructive Fraudulent
                                   8                                          Transfers
                                   9                                   Against All Defendants
                                  10                           [11 U.S.C. §§ 548(a)(1)(B), 550, and 551]
                                  11          93.    Marich Bein incorporates all of the responses in the preceding paragraphs
                                  12   as if set forth fully herein.
300 S. Grand Avenue, Suite 2600




                                  13          94.    Marich Bein lacks knowledge or information sufficient to form a belief
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                                  14   as to the truth of the allegations of paragraph 94, and on that basis denies them.
                                  15          95.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  16   as to the truth of the allegations of paragraph 95, and on that basis denies them.
                                  17          96.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  18   as to the truth of the allegations of paragraph 96, and on that basis denies them.
                                  19          97.    Marich Bein admits that LPG has not paid the debts owed to Marich Bein
                                  20   since March 20, 2023 and before, as they came due. Except as expressly admitted
                                  21   herein, Marich Bein lacks knowledge or information sufficient to form a belief as to
                                  22   the truth of the allegations of paragraph 97, and on that basis denies them.
                                  23          98.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  24   as to the truth of the allegations of paragraph 98, and on that basis denies them.
                                  25          99.    Marich Bein lacks knowledge or information sufficient to form a belief
                                  26   as to the truth of the allegations of paragraph 99, and on that basis denies them.
                                  27          100. Paragraph 100 constitutes a legal conclusion, to which no response is
                                  28   necessary. To the extent a response is required, Marich Bein lacks knowledge or
                                       133517932                                11
                                           MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC        Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07      Desc
                                                                Main Document    Page 12 of 20



                                   1   information sufficient to form a belief as to the truth of the allegations of paragraph
                                   2   100, and on that basis denies them.
                                   3                               FOURTH CLAIM FOR RELIEF
                                   4        Avoidance, Recovery, and Preservation of Four-Year Actual Fraudulent
                                   5                                          Transfers
                                   6                                   Against All Defendants
                                   7     [11 U.S.C. §§ 544(b), 550, and 551; Cal. Civ. Code §§ 3439.04(a) and 3439.07]
                                   8          101. Marich Bein incorporates all of the responses in the preceding paragraphs
                                   9   as if set forth fully herein.
                                  10          102. Marich Bein admits that since at least March 20, 2023 and before, LPG
                                  11   was indebted to Marich Bein, which is one of the Prepetition Creditors. Except as
                                  12   expressly admitted herein, Marich Bein lacks knowledge or information sufficient to
300 S. Grand Avenue, Suite 2600




                                  13   form a belief as to the truth of the allegations of paragraph 102, and on that basis
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                                  14   denies them.
                                  15          103. Marich Bein lacks knowledge or information sufficient to form a belief
                                  16   as to the truth of the allegations of paragraph 103, and on that basis denies them.
                                  17          104. Marich Bein lacks knowledge or information sufficient to form a belief
                                  18   as to the truth of the allegations of paragraph 104, and on that basis denies them.
                                  19          105. Marich Bein lacks knowledge or information sufficient to form a belief
                                  20   as to the truth of the allegations of paragraph 105, and on that basis denies them.
                                  21          106. Marich Bein lacks knowledge or information sufficient to form a belief
                                  22   as to the truth of the allegations of paragraph 106, and on that basis denies them.
                                  23          107. Marich Bein lacks knowledge or information sufficient to form a belief
                                  24   as to the truth of the allegations of paragraph 107, and on that basis denies them.
                                  25          108. Marich Bein lacks knowledge or information sufficient to form a belief
                                  26   as to the truth of the allegations of paragraph 108, and on that basis denies them.
                                  27          109. Marich Bein lacks knowledge or information sufficient to form a belief
                                  28   as to the truth of the allegations of paragraph 109, and on that basis denies them.
                                       133517932                                12
                                           MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC      Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07        Desc
                                                              Main Document    Page 13 of 20



                                   1           110. Marich Bein lacks knowledge or information sufficient to form a belief
                                   2   as to the truth of the allegations of paragraph 110, and on that basis denies them.
                                   3           111. Marich Bein lacks knowledge or information sufficient to form a belief
                                   4   as to the truth of the allegations of paragraph 111, and on that basis denies them.
                                   5           112. Marich Bein lacks knowledge or information sufficient to form a belief
                                   6   as to the truth of the allegations of paragraph 112, and on that basis denies them.
                                   7           113. Marich Bein admits that LPG has not paid the debts owed to Marich
                                   8   Bein, which is one of the Prepetition Creditors, since at least March 20, 2023 and
                                   9   before, as they became due. Except as expressly admitted herein, Marich Bein lacks
                                  10   knowledge or information sufficient to form a belief as to the truth of the allegations
                                  11   of paragraph 113, and on that basis denies them.
                                  12           114. Marich Bein lacks knowledge or information sufficient to form a belief
300 S. Grand Avenue, Suite 2600




                                  13   as to the truth of the allegations of paragraph 114, and on that basis denies them.
    Los Angeles, CA 90071
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                                  14           115. Marich Bein lacks knowledge or information sufficient to form a belief
                                  15   as to the truth of the allegations of paragraph 115, and on that basis denies them.
                                  16           116. Marich Bein lacks knowledge or information sufficient to form a belief
                                  17   as to the truth of the allegations of paragraph 116, and on that basis denies them.
                                  18           117. Paragraph 117 constitutes a legal conclusion, to which no response is
                                  19   necessary. To the extent a response is required, Marich Bein lacks knowledge or
                                  20   information sufficient to form a belief as to the truth of the allegations of paragraph
                                  21   117, and on that basis denies them.
                                  22           118. Paragraph 118 constitutes a legal conclusion, to which no response is
                                  23   necessary. To the extent a response is required, Marich Bein lacks knowledge or
                                  24   information sufficient to form a belief as to the truth of the allegations of paragraph
                                  25   118, and on that basis denies them.
                                  26   ///
                                  27   ///
                                  28   ///
                                       133517932                                13
                                             MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC        Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07        Desc
                                                                Main Document    Page 14 of 20



                                   1                                   FIFTH CLAIM FOR RELIEF
                                   2        Avoidance, Recovery, and Preservation of Four-Year Actual Fraudulent
                                   3                                           Transfers
                                   4                                     Against All Defendants
                                   5     [11 U.S.C. §§ 544(b), 550, and 551; Cal. Civ. Code §§ 3439.04(a) and 3439.07]
                                   6          119. Marich Bein incorporates all of the responses in the preceding paragraphs
                                   7   as if set forth fully herein.
                                   8          120. Marich Bein lacks knowledge or information sufficient to form a belief
                                   9   as to the truth of the allegations of paragraph 120, and on that basis denies them.
                                  10          121. Marich Bein lacks knowledge or information sufficient to form a belief
                                  11   as to the truth of the allegations of paragraph 121, and on that basis denies them.
                                  12          122. Marich Bein lacks knowledge or information sufficient to form a belief
300 S. Grand Avenue, Suite 2600




                                  13   as to the truth of the allegations of paragraph 122, and on that basis denies them.
    Los Angeles, CA 90071
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                                  14          123. Marich Bein lacks knowledge or information sufficient to form a belief
                                  15   as to the truth of the allegations of paragraph 123, and on that basis denies them.
                                  16          124. Marich Bein admits that LPG has not paid the debts owed to Marich Bein
                                  17   since March 20, 2023 and before, as they came due. Except as expressly admitted
                                  18   herein, Marich Bein lacks knowledge or information sufficient to form a belief as to
                                  19   the truth of the allegations of paragraph 124, and on that basis denies them.
                                  20          125. Marich Bein lacks knowledge or information sufficient to form a belief
                                  21   as to the truth of the allegations of paragraph 125, and on that basis denies them.
                                  22          126. Marich Bein lacks knowledge or information sufficient to form a belief
                                  23   as to the truth of the allegations of paragraph 126, and on that basis denies them.
                                  24          127. Marich Bein lacks knowledge or information sufficient to form a belief
                                  25   as to the truth of the allegations of paragraph 127, and on that basis denies them.
                                  26          128. Paragraph 128 constitutes a legal conclusion, to which no response is
                                  27   necessary. To the extent a response is required, Marich Bein lacks knowledge or
                                  28   information sufficient to form a belief as to the truth of the allegations of paragraph
                                       133517932                                14
                                           MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC        Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07      Desc
                                                                Main Document    Page 15 of 20



                                   1   128, and on that basis denies them.
                                   2          129. Paragraph 129 constitutes a legal conclusion, to which no response is
                                   3   necessary. To the extent a response is required, Marich Bein lacks knowledge or
                                   4   information sufficient to form a belief as to the truth of the allegations of paragraph
                                   5   129, and on that basis denies them.
                                   6                                   SIXTH CLAIM FOR RELIEF
                                   7                    Turnover of Estate Property Against All Defendants
                                   8                                        [11 U.S.C. § 542]
                                   9          130. Marich Bein incorporates all of the responses in the preceding paragraphs
                                  10   as if set forth fully herein.
                                  11          131. Marich Bein lacks knowledge or information sufficient to form a belief
                                  12   as to the truth of the allegations of paragraph 131, and on that basis denies them.
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                                  13          132. Marich Bein lacks knowledge or information sufficient to form a belief
    Los Angeles, CA 90071
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                                  14   as to the truth of the allegations of paragraph 132, and on that basis denies them.
                                  15          133. Marich Bein lacks knowledge or information sufficient to form a belief
                                  16   as to the truth of the allegations of paragraph 133, and on that basis denies them.
                                  17          134. Paragraph 134 constitutes a legal conclusion, to which no response is
                                  18   necessary. To the extent a response is required, Marich Bein lacks knowledge or
                                  19   information sufficient to form a belief as to the truth of the allegations of paragraph
                                  20   134, and on that basis denies them.
                                  21                                   RESERVATION OF RIGHTS
                                  22          135. Paragraph 135 constitutes a legal conclusion, to which no response is
                                  23   necessary. To the extent a response is required, Marich Bein lacks knowledge or
                                  24   information sufficient to form a belief as to the truth of the allegations of paragraph
                                  25   135, and on that basis denies them.
                                  26                                     PRAYER FOR RELIEF
                                  27          Plaintiff’s prayer for relief does not contain any allegations. To the extent any
                                  28   response is required to any paragraph of Plaintiff’s prayer for relief, including, without
                                       133517932                                 15
                                           MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC       Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07         Desc
                                                               Main Document    Page 16 of 20



                                   1   limitation, paragraphs 1. through 6., Marich Bein denies paragraphs 1. through 6. of
                                   2   Plaintiff’s prayer for relief. Marich Bein denies that Plaintiff is entitled to any relief
                                   3   against Marich Bein.
                                   4                                AFFIRMATIVE DEFENSES
                                   5          Without admitting any wrongful conduct on the part of Marich Bein, and
                                   6   without admitting that Plaintiff suffered any loss, damage, or injury, Marich Bein
                                   7   hereby alleges the following affirmative defenses. By designating the following
                                   8   affirmative defenses, Marich Bein does not in any way waive or limit any defenses
                                   9   which are or may be raised by their denials, allegations and averments contained
                                  10   herein. Marich Bein does not, by alleging any affirmative defense, admit that Plaintiff
                                  11   does not have the burden of proof for any and all facts and/or legal conclusions
                                  12   underlying any of those defenses. The defenses are pled in the alternative and are
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                                  13   raised to preserve the rights of Marich Bein to assert such defenses, and are raised
    Los Angeles, CA 90071
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                                  14   without prejudice to their ability to raise other and further defenses.
                                  15                             FIRST AFFIRMATIVE DEFENSE
                                  16          1.    Plaintiff’s Amended Complaint, and each and every cause of action
                                  17   alleged therein, fails to allege sufficient facts to state a cause of action against Marich
                                  18   Bein under Rule 7001(1) of Federal Rules of Bankruptcy Procedure.
                                  19                           SECOND AFFIRMATIVE DEFENSE
                                  20          2.    Plaintiff’s Amended Complaint, and each and every claim therein, is
                                  21   barred by the doctrine of avoidable consequences given that any damage Plaintiff
                                  22   allegedly sustained was caused by Plaintiff’s own actions or inactions, and/or
                                  23   Plaintiff’s failure to exercise reasonable care to avoid the consequences of harms, if
                                  24   any.
                                  25                            THIRD AFFIRMATIVE DEFENSE
                                  26          3.    Plaintiff’s Amended Complaint, and each and every claim therein, is
                                  27   barred because of ratification, agreement, acquiescence, or consent as to the conduct
                                  28   alleged.
                                       133517932                                 16
                                           MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC      Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07       Desc
                                                              Main Document    Page 17 of 20



                                   1                          FOURTH AFFIRMATIVE DEFENSE
                                   2          4.    The Amended Complaint, and each and every claim therein, is barred in
                                   3   whole or in part because Marich Bein’s conduct was justified and/or privileged.
                                   4                            FIFTH AFFIRMATIVE DEFENSE
                                   5          5.    Plaintiff’s Complaint, and each and every claim therein, is barred by the
                                   6   doctrine of waiver.
                                   7                            SIXTH AFFIRMATIVE DEFENSE
                                   8          6.    Plaintiff’s damages, if any, must be reduced by the amount of any
                                   9   payments made to Plaintiff and/or LPG by any collateral sources, including to the
                                  10   extent LPG has released, settled, entered into an accord and satisfaction, or otherwise
                                  11   compromised its claims by any means.
                                  12                          SEVENTH AFFIRMATIVE DEFENSE
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                                  13          7.    Plaintiff’s Amended Complaint, and each and every claim therein, is
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                                  14   barred in whole or in part by reason of compliance by Marich Bein with all applicable
                                  15   statutes, laws, regulations, and standards.
                                  16                          EIGHTH AFFIRMATIVE DEFENSE
                                  17          8.    Plaintiff’s Amended Complaint, and each and every claim therein, is
                                  18   barred in whole or in part by the doctrine of laches and due to the expiration of the
                                  19   applicable statute(s) of limitations and/or repose.
                                  20                           NINTH AFFIRMATIVE DEFENSE
                                  21          9.    Plaintiff’s Amended Complaint, and each and every claim therein, is
                                  22   barred by the doctrine of unjust enrichment.
                                  23                           TENTH AFFIRMATIVE DEFENSE
                                  24          10.   Plaintiff’s Amended Complaint, and each and every claim therein, is
                                  25   barred by the doctrine of waiver.
                                  26                         ELEVENTH AFFIRMATIVE DEFENSE
                                  27          11.   Plaintiff’s Amended Complaint, and each and every claim therein, is
                                  28   barred by Plaintiff’s unclean hands and/or wrongful acts.
                                       133517932                                17
                                           MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
                                   Case 8:23-ap-01046-SC        Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07       Desc
                                                                Main Document    Page 18 of 20



                                   1                           TWELFTH AFFIRMATIVE DEFENSE
                                   2            12.   Plaintiff’s Amended Complaint, and each and every claim therein, is
                                   3   barred in whole or in part because Marich Bein acted in good faith.
                                   4                                 RESERVATION OF RIGHTS
                                   5            13.   Marich Bein reserves the right to assert any further and additional
                                   6   defenses upon receiving more complete information regarding the matters alleged in
                                   7   the Amended Complaint, through discovery or otherwise, and which are available
                                   8   under the Bankruptcy Code, 11 U.S.C. § 101, et seq., or other applicable law.
                                   9                                       PRAYER FOR RELIEF
                                  10            WHEREFORE, Marich Bein prays for judgment in this action as follows:
                                  11            a)    That Plaintiff takes nothing by way of his Amended Complaint;
                                  12            b)    That the Amended Complaint be dismissed with prejudice;
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                                  13            c)    That judgment in this action be entered against Plaintiff and in favor of
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                                  14                  Marich Bein;
                                  15            d)    For the recovery of Marich Bein’s costs in connection with this action;
                                  16                  and
                                  17            e)    For such other and further relief as is just and proper.
                                  18                                 DEMAND FOR JURY TRIAL
                                  19            Defendant Marich Bein, LLC hereby demands a trial by jury on all issues
                                  20   triable by a jury and does not consent to a jury trial conducted by the bankruptcy
                                  21   court.
                                  22   Dated: June 30, 2023                            Respectfully submitted,
                                  23                                                   LOCKE LORD LLP
                                  24
                                                                                       By:/s/ David Kupetz
                                  25                                                      David Kupetz
                                  26                                                      William Mullen
                                                                                          Attorneys for Defendant
                                  27                                                      MARICH BEIN, LLC
                                  28
                                       133517932                                  18
                                           MARICH BEIN, LLC’S ANSWER TO PLAINTIFF’S ADVERSARY COMPLAINT
        Case 8:23-ap-01046-SC                      Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07                                      Desc
                                                   Main Document    Page 19 of 20



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
300 South Grand Avenue, Suite 2600, Los Angeles, CA 90071


A true and correct copy of the foregoing document entitled (specify):
DEFENDANT MARICH BEIN, LLC’S ANSWER TO PLAINTIFF RICHARD A. MARSHACK’S AMENDED COMPLAINT


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 30, 2023       , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                     , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 30, 2023       , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
JUDGE'S COPY - BY OVERNIGHT MAIL
The Honorable Scott C. Clarkson
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5130 / Courtroom 5C
Santa Ana, CA 92701-4593


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


June 30, 2023                  Kristina M. Koch
 Date                          Printed Name                                                     Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
         Case 8:23-ap-01046-SC                     Doc 79 Filed 06/30/23 Entered 06/30/23 12:08:07                                      Desc
                                                   Main Document    Page 20 of 20



1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

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        Jonathan Serrano                   jonathan.serrano@dinsmore.com
        Andrew Still              astill@swlaw.com, kcollins@swlaw.com
        United States Trustee (SA)                       ustpregion16.sa.ecf@usdoj.gov
        Johnny White JWhite@wrslawyers.com,
         jlee@wrslawyers.com;eweiman@wrslawyers.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
